          Case 1:19-cr-00179-MLB-JSA Document 106 Filed 08/17/21 Page 1 of 6




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA

UNITED STATES OF AMERICA,                       §
                                                §
                                                §
v.                                              §     CRIMINAL CASE NO.:
                                                §     1:19-cr-00179
                                                §
MICHAEL HUBBARD,                                §
                                                §
          Defendant.                            §

                          POST-HEARING BRIEF
            IN SUPPORT OF ALLEGED SELF-SERVING STATEMENT

          COMES NOW, Michael Hubbard, Defendant herein, by and through the

undersigned counsel, and files this his Post-Hearing Brief in Support of Alleged

Self-Serving Statement to supplement the pretrial conference hearing in this matter

held on May 20, 2021.

     I.       RELEVANT BACKGROUND

          The government submitted its motion in limine on Mr. Hubbard’s alleged self-

serving statements on May 18, 2021. [Doc 101]. The issues, however, were refined

on May 20, 2021 at the pretrial conference where the court specifically instructed

the undersigned to address only the Government’s self-serving argument and law

supporting our position that the word “conscience” should be used as a guide during

jury selection. See Transcript at p. 37, line 25; p. 38, lines 1-4. Since Mr. Hubbard




                                            1
     Case 1:19-cr-00179-MLB-JSA Document 106 Filed 08/17/21 Page 2 of 6




defers to the Court’s decision regarding a word replacement for “conscience,” this

post-hearing brief only addresses the issue of the alleged self-serving statement.


   II.      ALLEGED SELF-SERVING STATEMENT


         The Government wants to exclude Mr. Hubbard’s statement made to an

Atlanta Police Department Officer (not key Officers Mogavero and Miller) at the

scene on the date-in-question. Mr. Hubbard expressed to that officer that he did not

have a gun and that officer repeated Mr. Hubbard’s statement to his fellow police

officers (also at the scene). This dialogue is captured in video.

         First, if the officer-in-question takes the witness stand, he will be subject to

cross examination, including questions about any statements he, a Government

agent, made as admissions by a party opponent.                See Fed.R.Evid. 801(d).

Admissions by party opponents are non-hearsay. See id.

         Second, it is undisputed that Mr. Hubbard’s statement was made (1) while he

was still on the scene, (2) while he was in handcuffs, and (3) while law enforcement

was talking to him. Mr. Hubbard’s statement is, therefore, admissible as present

sense impression, excited utterance, and/or state of mind – all of which show Mr.

Hubbard’s surprise and confusion about his arrest.

         The event was ongoing and the investigation had not concluded, as evidenced

by Mr. Hubbard and multiple officers’ presence on the scene. See Fed.R.Evid.



                                             2
     Case 1:19-cr-00179-MLB-JSA Document 106 Filed 08/17/21 Page 3 of 6




803(1) (defining a present sense impression as a statement made while the declarant

was perceiving the event). Moreover, an essential element that the Government must

prove is Mr. Hubbard’s knowledge that he had a gun. Thus, Mr. Hubbard’s state of

mind/knowledge that he did not know that there was a gun is relevant, as well as

how he perceived the existing circumstance. Fed.R.Evid. 803(3); see e.g., U.S. v.

Grassi, 783 F.2d 1572 (11th Cir. 1986) (victim’s statements as to fear permitted

under state of mind).

      Next, the event was startling, as Mr. Hubbard was asleep when approached by

officers, told to open his door, ejected from his car, handcuffed, and then placed in

a patrol car.     See Fed.R.Evid. 803(2) (providing a hearsay exception for "[a]

statement relating to a startling event or condition made while the declarant was

under stress of excitement caused by the event or condition"); U.S. v. Brown, 441

F.3d 1330 (11th Cir. 2006) (witness’s statement that she heard defendant’s mother

ask over the phone if defendant killed a woman and then the mother started crying

was permitted);

      Additionally, the entire event did not last longer than an hour and a half, per

the body cameras. Courts have deemed events lasting longer than such time excited

utterances. See e.g., United States v. Belfast, 611 F.3d 783 (11th Cir. 2010) (“While

the declarant must still be under the stress or excitement that the startling event

caused, the excited utterance need not be made contemporaneously to the startling



                                         3
     Case 1:19-cr-00179-MLB-JSA Document 106 Filed 08/17/21 Page 4 of 6




event. It is the totality of the circumstances, not simply the length of time that has

passed between the event and the statement, that determines whether a hearsay

statement was an excited utterance.). See also, United States v. Cruz, 156 F.3d 22,

30 (1st Cir.1998) (finding a statement was an excited utterance when it was made

four hours after the startling event when it is likely that the victim continued to suffer

trauma because she was unable to escape the location where the assault occurred);

United States v. Scarpa, 913 F.2d 993, 1016-17 (2d Cir.1990) (finding a statement

was an excited utterance when it was made five or six hours after the event where

the record demonstrated that the declarant was still under stress at the time he made

the statement); Gross v. Greer, 773 F.2d 116, 119-20 (7th Cir.1985) (finding that the

district court properly admitted a statement made twelve hours after the startling

event).

   III. CONCLUSION

      WHEREFORE, for the reasons set forth herein, Defendant Michael Hubbard

respectfully requests that this honorable Court declare the alleged self-serving

statement as a hearsay exception.

      Respectfully submitted, this 17th day of August 2021.

                                         /s/Lawanda N. Hodges______________
                                         Lawanda N. Hodges
                                         Georgia Bar No. 547413
                                         The Law Firm of Lawanda Hodges, LLC
                                         1100 Peachtree Street, Suite 200
                                         Atlanta, GA 30309

                                            4
Case 1:19-cr-00179-MLB-JSA Document 106 Filed 08/17/21 Page 5 of 6




                              (404) 474-0772
                              lhodges@lhodgeslaw.com




                                5
     Case 1:19-cr-00179-MLB-JSA Document 106 Filed 08/17/21 Page 6 of 6




                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that, on this 17th day of August 2021, the

undersigned electronically filed the foregoing filing using the CM/ECF system,

which will automatically send email notification of such filing to the following

attorneys of record:

      Jessica Morris
      Assistant United States Attorney
      US Attorney’s Office for the Northern District of Georgia


                                     /s/Lawanda N. Hodges______________
                                     Lawanda N. Hodges
                                     Georgia Bar No. 547413
                                     The Law Firm of Lawanda Hodges, LLC
                                     1100 Peachtree Street, Suite 200
                                     Atlanta, GA 30309
                                     (404) 474-0772
                                     lhodges@lhodgeslaw.com




                                        6
